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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS

    DEBORAH LAUFER, Individually,                         )
                                                          )
            Plaintiff,                                    )
                                                          )
    vs.                                                   )   Case No. 1:20-cv-04594-MSS
                                                          )
    ESA P PORTFOLIO, LLC, d/b/a                           )
    EXTENDED STAY AMERICA –                               )
    ROCKFORD, A Foreign Limited Liability                 )
    Company,                                              )
                                                          )
            Defendant.                                    )


          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

I.         INTRODUCTION

           Plaintiff Deborah Laufer ("Plaintiff") initiated this case against Defendant ESA P

Portfolio, LLC d/b/a EXTENDED STAY AMERICA – ROCKFORD ("Defendant") as one of

over 4001 nearly identical ADA lawsuits filed in Illinois, Maryland, New York and elsewhere.

Courts have taken notice of Plaintiff filing these identical cases despite lacking subject matter

jurisdiction and standing. Plaintiff is a resident of Florida and never alleges that she visited the

state of Illinois, the hotel in question and makes only vague conclusory allegations in the Amended

Complaint that she intends to visit Illinois some day when the COVID crisis is over. There is no

concrete harm or risk of immediate future harm.

           To satisfy federal pleading requirements, Plaintiff must sufficiently allege facts which, if

proven true, state a claim upon which relief can be granted. Fed. R. Civ.P. 12(b)(6). Plaintiff has




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    See Request for Judicial Notice ISO MTD, Exhibit 1.
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not done so. Accordingly, the Court should grant Defendant’s Motion to Dismiss the Amended

Complaint pursuant to Federal Rule of Civil Procedure Rule 12(b)(6).

II.     BACKGROUND

        On August 5, 2020, Plaintiff filed the Complaint against Defendant seeking injunctive

relief and attorneys’ fees for alleged violations of the Americans with Disabilities Act (“ADA”).

Defendant owns properties used for hotel businesses nationwide. After Defendant filed a Motion

to Dismiss the Complaint on September 17, 2020 (Doc # 8, 9), Plaintiff filed an Amended

Complaint (Doc # 15) adding a new, vague, conclusory paragraph stating that Plaintiff intends to

“travel throughout the entire State” of Illinois “as soon as the Covid crisis abates.” Amended

Complaint at ¶ 13.

        Plaintiff alleges that she is a resident of Pasco County, Florida. Amended Complaint at

¶ 1. Plaintiff uses an assistive device (such as a cane) to walk and decided to be a “tester” for

purposes of ADA compliance. Amended Complaint at ¶ 2. Plaintiff further alleges that she visited

certain third party websites (which Defendant does not own, operate or control), such as

expedia.com and hotels.com, “for the purpose of reviewing and assessing the accessible features

at the Property and ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e).”

Amended Complaint at ¶ 10. Plaintiff found that such third party websites were lacking accessible

information about the property in question located at 747 North Bell School Road, Rockford,

Illinois (the “Subject Property”). Amended Complaint at ¶ 10. Plaintiff, therefore, seeks

attorneys’ fees, costs and injunctive relief. Amended Complaint at ¶ 20-21. Plaintiff attempts to

cover the clear holes in her original Complaint by adding new, vague allegations about plans to

travel to Illinois sometime in the future. Critically, however, Plaintiff never alleged in the

Complaint or Amended Complaint that she has visited the state of Illinois, the town of




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Rockford, the Subject Property or that she has any specific and concrete plans to visit the

Subject Property in the future. The Amended Complaint does not allege that Plaintiff has any

specific reason to travel anywhere in Illinois for any reason or a concrete plan to visit the Subject

Property in particular, only that Plaintiff plans to visit Illinois after COVID abates.

III.     LEGAL ARGUMENT

         A.     Courts Must Sua Sponte Assess Standing For Subject Matter Jurisdiction

         “Article III of the Constitution limits the jurisdiction of the federal courts to actual cases

or controversies.” UAW v. Johnson, 674 F.2d 1195, 1198 (7th Cir. 1982). Accordingly, it is well-

settled that the party asserting federal jurisdiction must "carry the burden of establishing standing”

as the proper party under Article III. Hinrichs v. Speaker of the House of Representatives, 506

F.3d 584, 590 (7th Cir. 2007); see also Scanlan v. Eisenberg, 669 F.3d 838, 841 (7th Cir. 2012)

(“Plaintiffs—as the party invoking federal jurisdiction—bear the burden to establish standing.”).

         Moreover, “it has been the virtually universally accepted practice of the federal courts to

permit any party to challenge or, indeed, to raise sua sponte the subject-matter jurisdiction of the

court at any time and at any stage of the proceedings." Craig v. Ont. Corp., 543 F.3d 872, 875

(7th Cir. 2008) (internal citations omitted). Indeed, “the court itself ha[s] a duty to ascertain the

propriety of its jurisdiction” and “[i]f a federal court doubts its jurisdiction, it should address its

concerns sua sponte.” Mader v. Motorola, Inc.,1999 U.S. App. LEXIS 7283, at *5 (7th Cir. Apr. 9,

1999); see also Wellness Int'l Network, Ltd. v. Sharif, 727 F.3d 751, 768 (7th Cir. 2013) (“[I]t is

true that questions of subject-matter jurisdiction may be raised at any time, as parties cannot

consent to subject-matter jurisdiction; indeed, such questions must be considered by a court sua

sponte.”).




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       B.      Standing Requires Concrete Harm Among Other Elements

       To establish standing a plaintiff must demonstrate (1) an “injury in fact” that is “concrete

and particularized” and “actual or imminent, not conjectural or hypothetical,” (2) “a causal

connection between the injury and the conduct complained of,” and (3) redressability of the injury

by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–65 (1992). Where “a case

is at the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each element.”

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Warth v. Seldin, 422 U.S. 490, 518

(1975)).

       “For an injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and individual

way.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560 n.1). To be “concrete” an

injury “must actually exist”: the injury must be “real” and not “abstract.” Id. Generally,

“even in the context of a statutory violation,” “a bare procedural violation, divorced from

any concrete harm,” does not satisfy the injury-in-fact requirement of Article III. Id. at 1549–

50 (emphasis added - holding that the plaintiff could not satisfy the demands of Article III by

simply alleging that consumer reporting agency disseminated information in violation of the Fair

Credit Reporting Act of 1970: “[a] violation of” a “procedural requirement[] may result in no

harm” and not all “inaccuracies cause harm or present any material risk of harm”). A “risk of real

harm” may “satisfy the requirement of concreteness.” Id. at 1549 (noting statutes where the

violation of a procedural right would be sufficient because Congress identified harms sufficient to

constitute injury in fact). Thus, “the critical question for standing purposes is whether the alleged

violations “entail a degree of risk sufficient to meet the concreteness requirement.’” Crabtree v.

Experian Info. Sols., Inc., 948 F.3d 872, 877 (7th Cir. 2020) (quoting Spokeo, 136 S. Ct. at 1550).




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        C.      Injunctive Relief Requires Risk Of Immediate Injury

        To have standing to seek injunctive relief in particular, Plaintiff “must show that [she is]

under an actual or imminent threat of suffering a concrete and particularized injury in fact; that

this injury is fairly traceable to the defendant's conduct; and that it is likely that a favorable judicial

decision will prevent or redress the injury.” Common Cause Ind. v. Lawson, 937 F.3d 944, 949

(7th Cir. 2019) (quoting Summers v. Earth Island Inst., 129 S. Ct. 1142 (2009); see also United

Asset Coverage, Inc. v. Avaya Inc., 409 F. Supp. 2d 1008, 1041 (N.D. Ill. 2006) (“[A] plaintiff's

entitlement to preliminary injunctive relief requires it, in addition to showing that its harm is

irreparable, to show that the harm is imminent as well.”).

        D.      Plaintiff Here Lacks Standing Because There Is No Concrete Harm

        Plaintiff is a resident of Florida. Amended Complaint at ¶ 1. There are no facts in the

Complaint indicating that she has ever traveled to Rockford, Illinois, or anywhere in Illinois or has

any plans to do so in the future. Plaintiff makes only vague allegations hastily included in the

Amended Complaint that she plans to travel to Illinois sometime in the future. Amended

Complaint at ¶ 13.

        Furthermore, Plaintiff alleges that she is a “tester” for the ADA. Amended Complaint at ¶

2. However, her status as a “tester” is not sufficient to establish subject matter jurisdiction in this

action. See Griffin v. Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 656 (4th Cir. 2019) (holding

that a plaintiff who was ineligible to be a member of a credit union failed to establish standing to

bring an ADA claim concerning its website because tester status “cannot create standing in the

absence of an otherwise plausible assertion that a return to the website would allow [the plaintiff]

to avail himself of its services”); see also Carello v. Aurora Policemen Credit Union, 930 F.3d

830, 833 (7th Cir. 2019) (“[W]hile tester status does not defeat standing, it does not automatically




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confer it either. A tester must still satisfy the elements of standing, including the injury-in-fact

requirement.”) (internal quotation citation omitted).

       Multiple courts have taken notice of these types of spam style ADA lawsuits without the

requisite standing. Such courts have dismissed nearly identical cases or filed orders to show cause

sua sponte regarding whether standing and subject matter jurisdiction exists. For example, the

court in Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-BKS-ML, 2020 U.S. Dist. LEXIS 79545

(N.D.N.Y. May 6, 2020), involving the same Plaintiff as the case at hand, Laufer, issued a sua

sponte Memorandum-Decision and Order regarding Plaintiff’s lack of standing, stating “There are

no facts in the Complaint or Plaintiff’s affidavit indicating that she has ever traveled to Rensselaer,

New York, or anywhere in New York, or that she has any reason to travel anywhere in New York

or any reason to seek lodging anywhere in New York.” Id. Doc #15 at p. 7. The court went on to

say “the Court questions whether the Plaintiff has established standing, in accord with Spokeo,

Kreisler, and Deeper Life Christian Fellowship, Inc, and thus whether the Court has subject matter

jurisdiction over this action.” Id. Doc #15 at p. 9.

       Other courts have taken notice of Plaintiff’s abuse of litigation as well. For example, in

Laufer v. 1110 Western Albany, LLC, Case No. 1:19-cv-01324-BKS-ML, 2020 U.S. Dist. LEXIS

81128 (N.D.N.Y. May 7, 2020), the Court issued an Order on May 7, 2020 noting that “Plaintiff

Deborah Laufer, a Florida resident … has 29, nearly identical, cases pending against different

defendants in the Northern District of New York.” Id. Doc # 21 at p. 1. The court went on to find

that “There appears to be a serious question as to whether Plaintiff has established standing,

in this, or any of her other cases, and thus whether the Court has subject matter jurisdiction over

these actions.” Id. Doc # 21 at p. 2 (emphasis added). The court then ordered that Plaintiff file

briefs addressing whether she has standing in that case and 27 other cases filed by Plaintiff Laufer




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listed in the court’s Exhibit A attached to the Order. Id. Doc # 21 at p. 2. Subsequent to that, the

case was dismissed due to settlement. Id. Doc # 22, 23. Similarly, the Court here should question

Plaintiff’s standing, which in fact does not exist.

         In New Jersey, The Hon. Renee Marie Bumb issued an Order to Show Cause applicable to

three very similar cases also brought by a serial ADA plaintiff residing in Florida alleging

violations on defendant’s website reservations system. Hernandez v. Caesars License Co., LLC,

Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v. Caesars License Co.,

LLC, Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v. Montego Bay

Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD (USDC DNJ), Doc # 4. See

Request for Judicial Notice ISO MTD, Exhibit 2. The Court’s Order could easily be applied to

this case:

                          An examination of the facts alleged in the complaints leads
                  this Court to question whether Plaintiff has established that he
                  has suffered an injury in fact. Plaintiff alleges that he “visited the
                  Property’s website for the purpose of reviewing an assessing the
                  accessible features at the Property in order to ascertain whether it
                  meets Plaintiff’s individual disability needs[.]” (Complaints ¶ 30)
                  The complaints do not plead how many times Plaintiff visited each
                  website. Moreover, while Plaintiff pleads a laundry list of “disability
                  accommodations” he was “unable to verify” “whether the Property
                  contain[ed],“ (Complaints ¶ 31), the complaints do not even plead
                  that Plaintiff, who “resides in Miami, Florida,” (Complaints, ¶
                  1) has any intention of visiting New Jersey, much less the specific
                  properties identified in the complaints. Rather, Plaintiff merely
                  pleads in conclusory fashion that “Plaintiff intends to revisit
                  Defendant’s or Defendant’s third-party agent’s website and/or
                  online reservation system in order to test it for compliance with 28
                  C.F.R. § 36.302(e)2 and/or otherwise determine if the site provides
                  enough information for Plaintiff to determine whether the site comes

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  The Court notes that 28 C.F.R. § 36.302(e) (1), which Plaintiff cites in his complaints, does not impose a specific
duty on places of public accommodation to include descriptions of disability accommodations on their websites. The
regulation merely requires that a place of public accommodation “[i]dentify and describe accessible features . . . in
enough detail to permit individuals with disabilities to assess independently whether a given hotel or guest room meets
his or her accessibility needs.” 28 C.F.R. § 36.302(e) (1) (ii). The regulation is silent as to where or how a place of
public accommodation must identify and describe its accessible features, and Plaintiff’s complaints are silent in this
regard.


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              into compliance with the guidelines of the aforementioned law.”
              (Complaints ¶ 39)

                      Thus, it does not appear that Plaintiff has pled an injury
              in fact. In this regard, the Court finds this case analogous to Murray
              v. Lifetime Brands, Inc., No. CV 16-5016, 2017 WL 1837855
              (D.N.J. May 8, 2017). In that case, as here, the plaintiff’s claim was
              premised on an “‘unlawful denial of access to information subject
              to disclosure.’” Id. at *3 (quoting In re: Nickelodian Consumer
              Privacy Litig., 827 F.3d 262, 273-74 (3d Cir. 2016)). In Murray,
              Judge Hillman held that the plaintiff had not established an injury in
              fact, explaining, “[c]ritically, what Murray fails to do, however, is
              identify the harm that resulted from allegedly not knowing what she
              asserts the [law] requires [defendant] to tell her.” Id. at *4,

                      In this case, too, Plaintiff fails to plead what actual,
              concrete harm he suffered, or will continue to suffer, as a result
              of allegedly being unable to determine whether each property has
              disability accommodations that meet his needs.


Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

Doc # 4 at p. 4-5 (emphasis added). The court then ordered that plaintiff show cause “why this

case should not be dismissed for lack of Article III standing.” Id. at p. 6. The defendant

subsequently filed a motion to dismiss much like the present motion, and the court issued an

Order granting defendant’s motion to dismiss for lack of subject matter jurisdiction.

Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

Doc # 25. The same thing occurred in the second case, Hernandez v. Caesars License Co., LLC,

Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc # 24. In the third case, plaintiff filed a

notice of voluntary dismissal, presumably acknowledging the lack of standing and jurisdiction.

Hernandez v. Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD

(USDC DNJ), Doc # 5. Here too, the case lacks subject matter jurisdiction and the Amended

Complaint should be dismissed by the Court.




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       E.      Because Courts Determine Jurisdiction Based On The Original Complaint,
               The Filing Of The Amended Complaint Cannot Cure Defects In The
               Complaint

       “In determining federal court jurisdiction, we look to the original, rather than to the

amended, complaint. Subject matter jurisdiction must exist as of the time the action is

commenced.” Morongo Band of Mission Indians v. Cal. State Bd. Equalization, 858 F.2d 1376,

1380 (9th Cir. 1988). As a result, “[i]f jurisdiction is lacking at the outset, the district court has

‘no power to do anything with the case except dismiss.” Id. (internal citations omitted). The grant

of leave to amend is a nullity if jurisdiction was lacking. Id. at 1381. Here, the allegations of the

Amended Complaint should not be considered in ruling on the instant Motion to Dismiss.

       As the Supreme Court stated, “jurisdiction depending on the condition of the party is

governed by that condition, as it was at the commencement of the suit.” Conolly v. Taylor, 27 U.S.

556, 565 (1829). Courts in the Seventh Circuit agree. See e.g., Nuclear Eng'g Co. v. Scott, 660

F.2d 241, 248 (7th Cir. 1981) (“Jurisdictional questions are answered by reference to the time of

the filing of an action, and the party asserting jurisdiction bears the burden of establishing its

existence.”). Here, there was no standing, and thus no jurisdiction, at the time of the filing of the

case. The Court, therefore, should dismiss the Amended Complaint.

       Further, while the Amended Complaint attempts to plead facts for standing to sue, it does

not provide any actual evidence necessary to establish standing. As previously set forth in

Defendant’s Motion to Dismiss Plaintiff’s Complaint, where the moving party makes a factual

challenge by presenting evidence on a Rule 12(b)(1) motion to dismiss, “the party opposing the

motion must furnish affidavits or other evidence necessary to satisfy its burden of establishing

subject matter jurisdiction.” Wolfe v. Strankman, 392 F.3d 358, 362 (9th Cir. 2004); see also

Purely Driven Prods., LLC v. Chillovino, LLC, 171 F. Supp. 3d 1016, 1018 (C.D. Cal. 2016) (“In




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reviewing factual attacks, ‘[t]he court need not presume the truthfulness of the plaintiff's

allegations.’ Id. Plaintiff bears the burden of establishing federal subject matter jurisdiction”); see

also Whitaker v. LSB Prop. Mgmt., LLC, 2020 U.S. Dist. LEXIS 108874, at *11 (C.D. Cal. June

22, 2020) (“Although Plaintiff acknowledged the Ninth Circuit has held that minimal allegations

that might survive a facial attack may not survive a factual attack…he made no effort to make any

additional showing. Therefore, Plaintiff fails to satisfy his burden of establishing subject

matter jurisdiction.”) (emphasis added).

       Here, the Amended Complaint does not meet Plaintiff’s burden to prove facts necessary to

establish jurisdiction, and Plaintiff’s desperate and incomplete attempts to fix defects in the case

through a few vaguely worded allegations are not sufficient. Plainly, Plaintiff lacks standing to

bring this case and accordingly, the Amended Complaint must be dismissed.

IV.    CONCLUSION

       Plaintiff lacks standing in this case, and it is respectfully submitted that the Court

accordingly lacks subject matter jurisdiction. This issue has been thoroughly explored by other

courts, including in dozens of cases involving this very Plaintiff, resulting in orders and dismissals

for lack of jurisdiction. Thus, Defendant respectfully requests that the Court dismiss Plaintiff’s

Amended Complaint with prejudice for lack of subject matter jurisdiction as well.




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Dated: October 29, 2020            Respectfully submitted,

                                   ESA P PORTFOLIO, L.L.C. D/B/A EXTENDED
                                   STAY AMERICA – ROCKFORD

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                                CERTIFICATE OF SERVICE

       The undersigned hereby declares that on this 29th day of October, 2020, a true and accurate

copy of the foregoing Memorandum of Points and Authorities in Support of Defendant’s

Motion to Dismiss Plaintiff’s Amended Complaint was served via the court’s Electronic Case

Filing system on all counsel of record.


                                                     /s/    Sonya Rosenberg
                                                            Sonya Rosenberg




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